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13
     Attorneys for Plaintiffs
14
                                 UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                     SAN FRANCISCO DIVISION
17
18    IN RE ROUNDUP PRODUCTS                            MDL No. 2741
      LIABILITY LITIGATION
19                                                      Case No. 16-md-02741
20                                                      MILLER DECLARATION IN SUPPORT
      This Document Relates To All Actions              OF ADMINISTRATIVE MOTION TO
21                                                      FILE UNDER SEAL
22
23
            I, Michael Miller, declare:
24
            1.      I am a member of the executive committee of MDL 2741. I make this declaration
25
     in support of Plaintiffs’ Administrative Motion to file Under Seal filed on February 20, 2017. I
26
     have personal knowledge of the facts state herein and, if called as a witness, I could and would
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             MILLER DECL. IN SUPPORT OF ADMIN. MOTION TO FILE UNDER SEAL
                                   3:16-md-02741-VC
             Case 3:16-md-02741-VC Document 150-1 Filed 02/20/17 Page 2 of 4



 1
            competently testify thereto.
 2
            2.      Plaintiffs have filed conditionally under seal supporting exhibits to Plaintiffs’
 3
     positions relative to the production of additional custodial files by Monsanto Company as well as
 4
     the production of fact witnesses Richard Garnett and Eric Haupfear for deposition testimony, as
 5
 6   support of Plaintiffs’ position through use of documents is by judicial order and the information

 7   is designated Confidential by Monsanto.

 8          I declare under penalty of perjury that the foregoing is true and correct.
 9
10   Executed this 20th day of February, 2017.
11
12
                                                   /s/ Michael Miller
13                                                 Michael Miller

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            MILLER DECL. IN SUPPORT OF ADMIN. MOTION TO FILE UNDER SEAL
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 1                                       ECF CERTIFICATION
 2          Pursuant to Civil Local Rule 5-1(i)(3), the filing attorney attest that he has obtained
 3
     concurrence regarding the filing of this document from the signatories to the document.
 4
 5
 6          DATED: February 20, 2017                              /s/ Michael Miller
                                                                  Michael Miller
 7                                                                mmiller@millerfirmllc.com
                                                                  The Miller Firm LLC
 8                                                                108 Railroad Avenue
                                                                  Orange, VA 22960
 9                                                                Telephone: (540) 672-4224
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            MILLER DECL. IN SUPPORT OF ADMIN. MOTION TO FILE UNDER SEAL
                                  3:16-md-02741-VC
             Case 3:16-md-02741-VC Document 150-1 Filed 02/20/17 Page 4 of 4



 1                                     CERTIFICATE OF SERVICE
 2          I hereby certify that a true and correct copy of the foregoing document was filed with the
 3
     Court and electronically served through the CM-ECF system which will send a notification of
 4
     such filing to all counsel of record.
 5
 6
 7          DATED: February 20, 2017                             /s/ Michael Miller
                                                                 Michael Miller
 8                                                               mmiller@millerfirmllc.com
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             MILLER DECL. IN SUPPORT OF ADMIN. MOTION TO FILE UNDER SEAL
                                   3:16-md-02741-VC
